            Case 01-01139-AMC          Doc 22801-1          Filed 08/14/09   Page 1 of 1




                                 CERTIFICATE OF SERVICE

               I, Erin R. Fay, certify that I am not less than 18 years of age, and that service of

the foregoing Travelers Casualty And Surety Company’s Deposition Designations

Regarding Phase II Confirmation Hearing On First Amended Joint Plan of Reorganization

Date February 27, 2009 was caused to be made on August 14, 2009, in the manner indicated

upon the parties identified on the attached service list.



Dated: August 14, 2009                                          /s/ Erin R. Fay
                                                                Erin R. Fay (No. 5268)




3070233.1
